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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,        )
           Plaintiff,            )
                                 )                    No. 1:10-cr-222
-v-                              )
                                 )                    HONORABLE PAUL L. MALONEY
ASANTE MOLEFI PARKER,            )
           Defendant.            )
_________________________________)

                                            OPINION

       This matter is before the Court on Defendant Asante Parker’s motion for a reduction

of sentence under Amendment 782. 1 (ECF No. 485.) The Court has determined that the

hearing scheduled for October 14, 2016 regarding this matter is no longer necessary.

       Following a guilty plea, Asante Parker was sentenced on May 23, 2011 to a 262-month

term of imprisonment for charges of conspiracy to distribute and possession with intent to

distribute 1,000 kilograms or more of marijuana in violation of 21 U.S.C. § 846, 841(a)(1),

and 846(b)(1)(A)(vii) and conspiracy to launder money in violation of 18 U.S.C. § 1956(h)

and (a)(1)(B)(i). (ECF No. 258.) Concurrent five- and three-year terms of supervised release

were also imposed. Thereafter, Parker’s sentence was reduced to 226 months on the

government’s motion under Fed. R. Crim. P. 35(b). (ECF No. 435.) That motion was based

on assistance provided beginning in October 2010 and continuing for almost two years

before and after his initial sentencing. (ECF No. 406 at PageID.2287.)



1
 In 2014, the United States Sentencing Commission passed Amendment 782, which lowered the base
offense level for most drug trafficking, and Amendment 788, which made Amendment 782 retroactive. U.S.
v. Lucas, 636 F. App’x 296, 297–98 (6th Cir. 2016).
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       On March 23, 2015, Parker filed a pro se motion seeking a reduction in his sentence

pursuant to 18 U.S.C. § 3582(c)(2) and Amendment 782 to the Guidelines. (ECF No. 485.)

The Probation Office indicated Parker appeared to be eligible (ECF No. 488) and prepared

a Sentence Modification Report. (ECF No. 533.)

       The Report recommends that Parker be found eligible for a sentence reduction.

However, the Report recommends a reduction only to 210 months, because 210 months is

at the bottom of the amended advisory guideline range determined under Amendment 782.

(Id. at PageID.3004–05.)

       Parker, now represented by counsel, has filed an objection, noting that the Report

failed to account for the Rule 35(b) reduction after Parker’s initial sentencing. (ECF No. 535

at PageID.3012.) The government appears to concede that the Court can consider the Rule

35(b) reduction in fashioning a corrected sentence. (ECF No. 536 at PageID.3032 (“[T]he

government concurs with the . . . assessment that Asante Parker is eligible for consideration

of sentence modification pursuant to USSG Amendment 782, that his amended guideline

range is 210 to 262 months in prison, and any amendment of Parker’s sentence below the

amended guideline range based upon substantial assistance should be in the same

comparable proportion as was originally contemplated at sentencing and when ruling upon

the subsequent Rule 35(b) motion.”).

       The general rule is that “pursuant to 18 U.S.C. § 3582(c)(2), a district court is not

authorized to reduce a defendant’s sentence below the amended Guidelines range.” U.S. v.

Washington, 584 F.3d 693, 701 (6th Cir. 2009), cert. denied, 130 S. Ct. 3479 (2010).

However, the Sentencing Commission has provided “guidance for handling a § 3582(c)(2)


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motion in a case involving a defendant who is serving a below-guideline sentence based on

substantial assistance to the government.” U.S. v. Phelps, 823 F.3d 1084, 1085 (6th Cir.

2016).

         Under U.S.S.G. § 1B.10(b)(2)(B), the Court has the authority to impose a sentence

“comparably less than the amended guideline range” based on a prior substantial-assistance

reduction:

         If the term of imprisonment imposed was less than the term of imprisonment
         provided by the guideline range applicable to the defendant at the time of
         sentencing pursuant to a government motion to reflect the defendant’s
         substantial assistance to authorities, a reduction comparably less than the
         amended guideline range determined under subdivision (1) of this subsection
         may be appropriate.

The term “a government motion to reflect the defendant’s substantial assistance” includes

motions under Rule 35(b). U.S.S.G. § 1B1.10 cmt. n.3 (noting that a “government motion”

includes motions under § 5K1.1, 18 U.S.C. § 3553(e), and Fed. R. Crim. P. 35(b)); see

Phelps, 823 F.3d at 1086, 1088 (reversing the district court because it failed to account that

the Guidelines allow a defendant’s Rule 35(b) reduction to be factored when resentencing

on an Amendment 782 motion).

         The Sentencing Commission has clearly contemplated that a defendant such as

Parker, whose sentence was reduced to reflect his substantial assistance, would not be subject

to the limitation in U.S.S.G. § 1B.10(b)(2)(A) because his sentence was reduced pursuant to

a Rule 35(b) motion rather than a motion under U.S.S.G. § 5K1.1.

         The Court sustains Parker’s objection.




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        However, the Court cannot go as low as the 174-month sentence that Parker requests.

Parker “is eligible to receive a new sentence of not less than [181] months.” Phelps, 823 F.3d

at 1088. 2 The Court finds that sentence “comparably” appropriate, see U.S.S.G. §

1B.10(b)(2)(B), when considering all of the 18 U.S.C. § 3553(a) factors.

        For the reasons discussed, the Court GRANTS Defendant’s motion for reduction of

sentence under Guideline Amendment 782. (ECF No. 485.) A separate order will issue

reflecting a new sentence of 181 months.



Date:    September 29, 2016                       /s/ Paul L. Maloney
                                               Paul L. Maloney
                                               United States District Judge




2
 Here’s the math: Parker’s current sentence is 226 months. The bottom of his original unamended
guideline range was 262 months. Two-hundred and twenty-six months is approximately 86.2% of 262
months. When this percentage is multiplied by the bottom of the amended guideline range (210 months),
the result is 181 months. See id. at 1088 n.2.


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